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IN THE UNITED srA'rEs DISTRICT COURT
FOR THE WESTERN DISTRICT oF TENNESSEEJS AUG -5 PH 3: 19

 

  
 

 

 

 

 

WESTERN DIVISION
» CLE?§€"’Q F't'C¢»Usr
UNITED sTATEs oF AMERICA W.'l> tr § PHIS
v.
DONISHA HENSON 05cr20146-Ml
a/l</a Kiana McGee
ORDER ON ARRAIGNMENT

This cause came to be heard on Q ga f, §§ 2¢9’4 5 the United States Attorney
for this district appeared on behalf of the gov ent, an the defendant appeared in person and With
counsel:
NAME 9 Q%HUZ¢¢/L_ Who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, Such period is extended.

The efendant, Who is not in custody, may stand on his nt bond.
e defendant, (not baying-mde’bond) (bei.g-Li(t_s_t_giei;_ue:) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), ' ded to the custody
of the U.S. Marshal.

   

 

UN`ITED srArizs MAGISTRATE JUDGE

CHARGES - 21:841
CONTROLLED SUBSTANCE - SELL, DISTRIBUTE OR DISPENSE

Attorney assigned to Case: D. Henry

Age: L 7

This document entered on the docket sheet in compliance

with eula 55 and/or 3203) Fach on § ’<FUS

 

   

UNITED sTATE ISTRIC COURT - WESTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number l3 in
case 2:05-CR-20146 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

